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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

 JUSTIN FAIRFAX,                                     )
                                                     )
                  Plaintiff,                         )
                                                     )
 v.                                                  )       Civil Action No. 1:19-cv-01176 (AJT/MSN)
                                                     )
 CBS BROADCASTING INC., et al.,                      )
                                                     )
                  Defendants.                        )

                               MEMORANDUM OPINION AND ORDER

         On April 1, 2019 and April 2, 2019, CBS This Morning, a morning news program,

 broadcast to a national audience interviews of two women who accused Plaintiff Justin Fairfax

 (“Fairfax”) of separate sexual assaults, one in 2000 and the other in 2004. Based on these

 broadcasts, Fairfax, the currently serving Lieutenant Governor of Virginia, has sued Defendants

 CBS Corporation and CBS Broadcasting Inc. (collectively, “CBS”) for defamation and

 intentional infliction of emotional distress.

         In response to the Amended Complaint,1 Defendants have filed the pending Motion to

 Dismiss [Doc. 16] (the “Motion to Dismiss”) and Motion for Attorney’s Fees and Costs [Doc.

 19] (the “Motion for Fees”). As discussed below, Fairfax has not plausibly alleged that CBS

 engaged in actionable defamation or published the challenged broadcasts with “actual malice” or

 that CBS intentionally inflicted emotional distress. The Motion to Dismiss is therefore

 GRANTED; and this action is DISMISSED. The Motion for Fees pursuant to Va. Code Ann.

 § 8.01-223.2 is DENIED.




 1
  On September 12, 2019, Fairfax filed this action and on October 3, 2019, he filed the Amended Complaint [Doc.
 9].
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                                             I. BACKGROUND

          The following facts, taken from the Amended Complaint and the referenced broadcasts,

 are assumed true for purposes of this Order.2 See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-

 56 (2007).

          On February 1, 2019, a photograph from Virginia Governor Ralph Northam’s medical

 school yearbook page surfaced, purportedly showing Governor Northam dressed as either a

 white man in blackface or as a Ku Klux Klansman. Am. Compl. ¶ 54. Immediately after the

 photo’s release, national attention turned to Justin Fairfax, who, as the sitting Lt. Governor of

 Virginia, elected to that statewide office in November 2017, is the next in line to ascend to the

 governorship should Governor Northam resign, thereby becoming only the second African-

 American governor in state history. Id. ¶¶ 50, 58-59.

          On the Sunday immediately after the yearbook picture surfaced, a conservative news

 website, “Big League Politics,” published a private Facebook message, purportedly written by

 Vanessa Tyson (“Tyson”), in which Tyson states that someone poised to receive a “VERY BIG

 promotion” in Virginia had assaulted her at the 2004 Democratic National Convention in Boston.

 Id. ¶ 60. The following Monday, The Washington Post first reported the allegation, although the

 Post noted at that time that it “could not find anyone who could corroborate” Tyson’s

 allegations.3 Id. ¶ 61.



 2
   Because the Amended Complaint references and cites from the broadcasts, which have been submitted to the Court
 in their entirety, the record for purposes of the Motion includes, in addition to the allegations of the Amended
 Complaint, the entire contents of these broadcasts. See Schneider v. Donaldson Funeral Home, P.A., 733 F. App’x
 641, 645 (4th Cir. 2018) (court may take judicial notice of and consider at the motion to dismiss stage materials
 incorporated by reference in a complaint).
 3
   Fairfax also alleges that Tyson had previously presented her false allegation against him to The Washington Post in
 the Fall of 2017 after Fairfax’s victory in the November 7, 2017 general election, but the Post, after several months
 of investigation, made the decision in March 2018 not to publish her story because it lacked corroboration. See id. ¶¶
 80-81.

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        Three days later, on Wednesday, February 6, 2019, Tyson publicly stated that Fairfax

 sexually assaulted her in 2004. In a statement published through her lawyer, Tyson wrote that the

 encounter involved “consensual kissing” and that Fairfax’s advances were, at first, “not

 unwelcome.” Id. ¶ 71. But in that same statement, Tyson added:

         What began as consensual kissing quickly turned into a sexual assault. Mr. Fairfax
         put his hand behind my neck and forcefully pushed my head towards his crotch.
         Only then did I realize that he had unbuckled his belt, unzipped his pants, and taken
         out his penis. He then forced his penis into my mouth. Utterly shocked and terrified,
         I tried to move my head away, but could not because his hand was holding down
         my neck and he was much stronger than me. As I cried and gagged, Mr. Fairfax
         forced me to perform oral sex on him. I cannot believe, given my obvious distress,
         that Mr. Fairfax thought this forced sexual act was consensual. To be very clear, I
         did not want to engage in oral sex with Mr. Fairfax and I never gave any form of
         consent.
 Id. ¶ 72.

        Fairfax does not dispute that he had a sexual encounter with Tyson at the 2004

 Democratic National Convention. Instead, Fairfax alleges that on July 28, 2004, after knowing

 each other for less than 24 hours, Tyson agreed to join Fairfax in his hotel room at the

 Democratic National Convention; on that evening, Tyson and Fairfax engaged in consensual

 sexual activity in Fairfax’s hotel room; throughout that encounter, Tyson unambiguously

 manifested her consent to engage in consensual sexual activity; Fairfax did not force Tyson to do

 anything; Tyson did not indicate that Fairfax forced her to do anything; Tyson did not cry, gag,

 or choke while in Fairfax’s hotel room, as Tyson alleged in her interview broadcasted by CBS;

 Tyson stayed in Fairfax’s hotel room following the sexual encounter; and, contrary to Tyson’s

 statements in her CBS interview, Tyson and Fairfax remained in touch in the weeks following

 their consensual sexual encounter and never indicated to Fairfax that the sexual encounter on

 July 28 was not consensual. Id. ¶¶ 38, 40-44, 46, 84d.-h.



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        Days after the Tyson story broke, Meredith Watson (“Watson”), through her attorney,

 sent a letter to Fairfax’s legal counsel alleging that Fairfax had raped Watson in 2000 while both

 were undergraduate students at Duke University. Id. ¶ 85. In that letter, dated February 8, 2019,

 Watson’s attorney called for Fairfax’s resignation as Lt. Governor of Virginia and demanded that

 Fairfax respond by 3:00 p.m. that same day, implying that she would go public with her

 allegation unless Fairfax formally resigned as Lt. Governor. Id. Fairfax’s counsel did not

 respond to the letter and Fairfax did not resign; and later that afternoon, Watson publicly

 announced that she had been raped by Fairfax in 2000 while both were Duke University

 undergraduate students. Id. ¶ 86. In that account, Watson alleged that in the spring 2000 at the

 Alpha Phi Alpha fraternity house on Duke’s campus, Watson was sexual assaulted by Fairfax.

 Id. ¶ 87. Watson did not mention that anyone else was in the room. Id. ¶ 88. Watson later

 supplemented the statement by indicating that, at a later encounter with Fairfax in 2000, Fairfax

 stated that he knew he could assault her without risk because he knew that she had been raped

 the previous year by a Duke athlete. Id. ¶¶ 89-90.

        Fairfax does not dispute that he and Watson had a sexual encounter in 2000 at Duke

 University. Id. ¶ 26. Instead, Fairfax claims that Watson initiated the sexual encounter with him

 in 2000; there was an eyewitness in the room during the entire encounter, which Watson omitted

 in her interview broadcasted by CBS; throughout the entire sexual encounter, Watson

 “unambiguously” manifested her consent to the sexual activity; afterwards, Fairfax left the room,

 with Watson remaining in the room with the eyewitness; Watson never indicated to Fairfax at

 any time that the spring 2000 encounter was not consensual; the alleged conversation between

 Watson and Fairfax, at a unspecified campus party later that semester, never occurred; and an

 eyewitness, who remains friends both with Fairfax, as well as a current lawyer for CBS,



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 discussed the encounter with Fairfax after Watson’s initial February 2019 statements. Id. ¶¶ 22-

 34, 93.

           On February 8, 2019, the day the Watson story broke, Ed O’Keefe, a CBS News Political

 Correspondent investigating the Fairfax allegations, was in contact with Fairfax’s spokesperson,

 who had sent him a list of names and phone numbers, saying, “Please Ed call these Duke grads.”

 Id. ¶ 107. The spokesperson also urged O’Keefe to “Please [d]o reporting and don’t rush it” (sic).

 Id. O’Keefe was unable to make contact with the named persons on that list and urged Fairfax,

 and his team, to ask these individuals to return his calls. Id.

           On April 1, 2019 and April 2, 2019, nearly two months after both women’s allegations

 first surfaced, CBS, during it morning news program CBS This Morning, broadcast segments of

 its interviews with Tyson and Watson to a national audience. Id. ¶ 1. During these separate

 interviews, both women, both interviewed by CBS This Morning host Gayle King, accused

 Fairfax of sexual assaults against them. Id. Fairfax declined CBS’ requests for a similar

 interview with him. See [Doc. 17, Ex. 6 at 3].

           In its April 1, 2019 broadcast with Tyson, Tyson recalls in detail what she claims

 happened to her in Fairfax’s hotel room in 2004. See [Doc. 17, Exs. 3, 5, 7]. She states, in

 relevant part:

           Tyson:                We’re kissing lying down. And we’re kissing, like, so our heads
                                 are level with each other. And then it was like my neck didn’t
                                 work.
           King:                 What do you mean?
           Tyson:                It was like I couldn’t – I couldn’t feel my neck. I couldn’t hold my
                                 head up. He’s using his hand on the back of my neck. [Tyson puts
                                 her right hand on the back of her neck and leans forward.] And I
                                 still didn’t know what was going wrong. I thought there was
                                 something wrong with my neck and he’s pushing down and
                                 pushing down and I couldn’t hold my neck up. . . . And then the


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                                next thing I know, like, my head is like literally in his crotch. And
                                I’m choking and gagging. . . .
 Id., Ex. 4 at 4. After this segment of the recorded interview, King states on air from the studio:

         Now, Lt. Gov. Fairfax responded to the accusations. In a statement to CBS News, he says
         this: “I feel so strongly regarding my innocence that I submitted myself to polygraph tests
         for each of the accusations against me. I passed these tests because, as I have maintained
         from the very beginning, I did not assault either of my accusers.”

 Id., Ex. 4 at 7. Thereafter, King and her CBS This Morning co-hosts shared their reactions:

         King:                  It was fascinating talking to her because I felt, at some point, it’s
                                almost like she’s going back to the moment that she believed –
         Norah O’Donnell:       Yeah, of course.
         Bianna Golodryga:      You could see that.
         King:                  You could really see that in her eyes. And people would say,
                                “Yeah, but she went to the hotel room, yeah, she agreed to the
                                kissing, isn’t that on her?” But I could see, as a young person, you
                                have a mutual friend, and you think this guy is safe, and kissing
                                doesn’t necessarily have to lead to what she says happened after
                                that. So –
         Golodryga:             Something clearly changed when she was talking –
         King:                  Yes.
         Golodryga:             – through what transpired, and you could see where she got very
                                emotional and went to that dark place.
         O’Donnell:             Feels like she was forced.
         King:                  Yeah.
 Id., Ex. 4 at 7-8.
         Segments of CBS’ interview with Watson were broadcast on both April 1, 2019 and

 April 2, 2019. Id. Exs. 5, 10, 12. In these interview segments, Watson recounted how, on a

 spring night in 2000, Fairfax invited her to “hang out” at a fraternity house located on campus.

 Id., Ex. 11 at 1. Watson then said that, at a certain point, Fairfax had left the room and when he

 returned, moments later, the door shut with a “click like locking the door” and “the light went

 off.” Id., Ex. 11 at 2. She then added:


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         Watson:               And he did things that you shouldn’t do to someone without their
                               permission. And I tried several times to get up and leave, and was
                               pushed back down.
         King:                 And what happened?
         Watson:               He forcibly sexually assaulted and raped me. I was not on the bed
                               initially. There was a couch and he pulled me over, and I tried
                               several times to get up, and was pushed back down, held down.
         King:                 And you made it clear, “This is not what I want.”
         Watson:               It was very clear.
         King:                 Because, you know, he is saying this night was consensual.
         Watson:               If you have to hold someone down, it’s not consensual.
 Id., Ex. 11 at 2-3.

         Following this, King prodded Watson about her allegation that she had been raped during

 the previous school year, and how that experience related to her allegations against Fairfax:

         Watson:               One night after it [her alleged attack by Fairfax] happened, I was at
                               a party on campus, and he came, and so I went to leave, like I left,
                               and he followed me out, and was sort of following after me, calling
                               after me, and I was just running, trying to get away. And then I
                               finally stopped, and I turned around, and all I said to him was,
                               “Why? Why would you do that to me?” And he said, “I knew,
                               because of what happened to you last year, that if I got you in the
                               right situation you would be too afraid to say or do anything about
                               it.”
         King:                 Meredith, you hear that, and you think what?
         Watson:               [crying] He knew what he was going to do that night when he
                               asked me to come over.
 Id., Ex. 11 at 5. Immediately after concluding the interview segment, King, on air, again

 remarked that Fairfax, through his spokesperson, denied sexually assaulting Watson, stating:

         In response to Watson’s allegations, a spokesperson says Fairfax took a polygraph test,
         and it supports his denials. . . . His spokesperson says the tests show that Fairfax was
         truthful when he answered that he never had that conversation with Meredith Watson
         where she implied his sexual contact with her was non-consensual. This spokesperson
         also says that Fairfax denies ever holding her down or preventing her from getting up
         during the alleged incident.


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 Id., Ex. 11 at 6. Later in the segment, King’s co-hosts shared on air their reactions to Watson’s

 interview, stating:

         O’Donnell:            There’s an incredible amount of pain there. [referring to Watson’s
                               interview].
         King:                 Yes. All these years later.
         O’Donnell:            All these years later, that pain has stuck with them about how
                               they felt in that moment, and how it has affected them for
                               decades.
         John Dickerson:       Think about the learning we’ve done. There was a period, half a
                               year ago, when people said, “You know these people are coming
                               forward after so many years.”
         King:                 Why?
         Dickerson:            Why are they coming forward? How can it really be so real?
                               And, we have now seen example after example of how it is as
                               real [snaps fingers] as if it happened yesterday.
         King:                 Exactly right, John.
 Id., Ex. 11 at 3-4.

         Fairfax alleges that CBS’ publication of the Watson interview needs to be considered in

 light of its employment since 2010 of an associate general counsel who focuses on litigation,

 including defamation matters, and who is a former boyfriend of Watson and a fraternity brother

 of both Fairfax and the alleged eyewitness. Id. ¶¶ 97-99, 107. Since Watson went public with

 her accusation against Fairfax in February 2019, Fairfax and this CBS lawyer exchanged

 numerous text messages and had several conversations regarding the allegations made by

 Watson before CBS published its interview with Watson in April 2019. Id. ¶¶ 103, 104, 106.

 According to Fairfax, the lawyer knew that an eyewitness was in the room throughout the

 encounter; the encounter between Fairfax and Watson was consensual; and he could testify as to

 the veracity of Watson’s allegations. Id. ¶ 105. Nevertheless, this CBS lawyer was unable to

 prevent CBS from airing the Watson interview or did not take steps to prevent CBS from airing


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 the Watson interview. Id. ¶ 109. He further alleges that before King interviewed Watson in

 April, his spokesperson urged CBS to ask certain questions of Watson and the CBS lawyer and

 the eyewitness, both of whom were on a list Fairfax provided to CBS, and to fully investigate her

 claims, including the date of the alleged assault, in which room it occurred, and whether Watson

 “encountered anyone other than Fairfax upon entering or exiting the room or building,” but that

 CBS conducted no such investigation. Id. ¶¶ 1, 139, 140.

        Fairfax also alleges that CBS, the only news network to air interviews with Watson and

 Tyson, made the decision to publish these interviews in order to improve its image following the

 #MeToo movement and embarrassing workplace sexual misconduct scandals involving former

 CBS employees Charlie Rose and Les Moonves. Id. ¶¶ 113, 114. In a similar vein, Fairfax

 alleges that CBS had a preconceived narrative in pursuing the interviews and the allegations

 against him, pointing to (1) CBS’ failure to ask basic questions of Watson and Tyson; (2) its

 failure to separately investigate in advance of the airing date and only speaking to Watson and

 Tyson directly, as well as their representatives; (3) its decision to conduct an unusual pre-

 interview of Watson (and perhaps of Tyson as well); (4) its editing interviews in such a way to

 ensure that the final, published, and distributed versions fit CBS’s preconceived narrative; and

 (5) its failure to update its story once Fairfax identified an exculpating eyewitness, present in the

 room during the 2000 encounter with Watson, in July 2019, months after the interview with

 Watson initially aired.

        Fairfax further alleges that CBS’ animus towards him continued, even after the April

 broadcasts, as reflected in a CBS reporter’s asking Fairfax at an April 3, 2019 press conference,

 “At what point do you just resign?” id. ¶¶ 122-125, 132, and also CBS’ failure to retract, or at the

 least correct, the stories after evidence emerged which he claims contradicted their contents. In



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 particular, Fairfax alleges that CBS failed to report on (1) the letters he sent to the relevant local

 prosecutors in the summer of 2019, in the jurisdictions where the alleged assaults occurred,

 asking these prosecutors to investigate the allegations; (2) Fairfax’s July 10, 2019 revelation of

 the exculpatory eyewitness, whose role in the 2000 alleged assault was previously undisclosed;

 and (3) CBS employees’ continually exchanged messages with Fairfax’s spokesperson who

 asked questions and noted inconsistencies in the stories of the two women. Id. ¶¶ 184-190.

 Fairfax notes in this regard that the exchanged messages inexplicably stopped once Fairfax

 publicly stated that, according to the eyewitness, Watson’s allegations against Fairfax were false,

 id. ¶ 189; and CBS never revised its reporting in its initial broadcasts in light of this new

 evidence, despite other news networks doing the same, nor did it investigate this new evidence

 further, particularly evidence that may conflict with statements made in the initial broadcasts, id.

 ¶¶ 190-191.

        Fairfax also alleges in detail the effects that CBS’ broadcasts of the Tyson and Watson

 interviews had on him politically, professionally, and personally. Before CBS published the

 allegedly false and defamatory allegations against him, Fairfax had served as a member of the

 Duke University Board of Trustees, the Duke University Sanford School of Public Policy Board

 of Visitors, Chair of the Democratic Lieutenant Governors Association, and a partner at the law

 firm Morrison and Foerster LLP in Washington, D.C. Id. ¶ 15. Upon publication of the CBS

 broadcasts, he was asked to resign or voluntarily resigned from each of those positions. Id. ¶¶

 205-207.

        Based on the above allegations, Fairfax asserts two causes of action against CBS. In

 Count I, Fairfax alleges that CBS defamed him based on its initial broadcasts of King’s

 interviews with Tyson and Watson, and the further dissemination of those broadcasts on the CBS



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 website, CBSNews.com, and other social media platforms. Id. ¶¶ 210-228. In particular, he

 alleges that CBS, in airing the accusations, “have falsely portrayed [him] as a rapist, sexual

 abuser, and a predator,” and that these accusations are defamatory per se. Id. ¶¶ 220-221. In

 Count II, Fairfax asserts an intentional infliction of emotional distress (“IIED”) claim against

 CBS, alleging that through its publication of the two interviews, CBS intentionally and falsely

 labeled Fairfax a criminal, causing him severe emotional distress. Id. ¶¶ 227-28. As relief,

 Fairfax seeks an award of compensatory damages of not less than $400,000,000, punitive

 damages, attorney’s fees and costs, and an injunction prohibiting CBS from disseminating,

 distributing, or publishing any footage or statements that are judicially determined to be

 defamatory. Id. at 56 (“Prayer for Relief”).

                                    II. LEGAL STANDARD

        Under Rule 12(b)(6), a complaint “must be dismissed when a plaintiff’s allegations fail to

 state a claim upon which relief can be granted.” Adams v. NaphCare, Inc., 244 F. Supp. 3d 546,

 548 (E.D. Va. 2017). To survive a motion to dismiss, the facts alleged in the complaint “must be

 enough to raise a right to relief above the speculative level” and “to state a claim to relief that is

 plausible on its face.” Twombly, 550 U.S. at 555, 570. “[A] plaintiff’s obligation to provide the

 grounds of his entitlement to relief requires more than labels and conclusions, and a formulaic

 recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555 (internal

 quotation marks and citations omitted).

        In addressing a Rule 12(b)(6) motion, a court must assume the truth of all facts alleged in

 the complaint and construe the factual allegations in favor of the plaintiff, Robinson v. Am.

 Honda Motor Co., 551 F.3d 218, 222 (4th Cir. 2009); however, a court “is not bound by the

 complaint’s legal conclusions.” Id. Without converting a Rule 12(b)(6) motion into one for



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 summary judgment, a court may consider the complaint’s attachments, documents incorporated

 by reference into the complaint, and documents “attached to the motion to dismiss, so long as

 they are integral to the complaint and authentic.” Sec’y of State for Defence v. Trimble

 Navigation Ltd., 484 F.3d 700, 705 (4th Cir. 2007); see also Healey v. Abadie, 143 F. Supp. 3d

 397, 401 (E.D. Va. 2015). A court may also take judicial notice of items in the public record.

 Hall v. Virginia, 385 F.3d 421, 424 n.3 (4th Cir. 2004).

                                        III. ANALYSIS

            A. Defamation

        Under Virginia law, the elements of common law defamation are the “(1) publication of

 (2) an actionable statement with (3) the requisite intent.” Chapin v. Knight-Ridder, Inc., 993 F.2d

 1087, 1092 (4th Cir. 1993) (applying Virginia law). A statement is actionable if it contains a

 false assertion of fact that “tends so to harm the reputation of another as to lower him in the

 estimation of the community or to deter third persons from associating or dealing with him.” Id.

 Actionable defamation can be based on a statement that is either defamatory per se or

 defamatory by implication. Whether a statement is actionable is a threshold question of law for

 courts to decide. CACI Premier Tech., Inc. v. Rhodes, 536 F.3d 280, 294 (4th Cir. 2008).

        “[A] statement is defamatory per se if it, among other circumstances, . . . impute[s] to a

 person unfitness to perform the duties of an office or employment of profit, or want of integrity

 in the discharge of the duties of such an office or employment.’” CACI, 536 F.3d at 292-

 93 (quoting Carwile v. Richmond Newspapers, Inc., 196 Va. 1, 82 S.E.2d 588, 591-92 (Va.

 1954)). A statement is defamatory by implication if “(1) the defendants made the statements

 alleged in the complaint, (2) the statements, even if facially true, were designed and intended by

 the defendants to imply [the defamatory meaning], (3) in the light of the circumstances



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 prevailing at the time they were made, the statements conveyed that defamatory implication to

 those who heard or read them, and (4) the plaintiff suffered harm as a result.” Pendleton v.

 Newsome, 290 Va. 162, 175, 772 S.E.2d 759, 765 (Va. 2015). However, in assessing whether

 the alleged defamatory meaning can be understood by implication, language cannot, by

 innuendo, be extended beyond its ordinary and common meaning, Carwile, 82 S.E.2d at 591-92,

 and courts consider the “‘general tenor of the [publication],’” id. (quoting Milkovich v. Lorain

 Journal Co., 497 U.S. 1, 21 (1990)); see also Biospherics, Inc. v. Forbes, Inc., 151 F.3d 180, 184

 (4th Cir. 1998) (in determining whether a statement can be reasonably interpreted as stating

 actual facts about an individual, courts look to the circumstances in which the statement is

 made). Thus, where a plaintiff alleges that he has been defamed by implication, the alleged

 implication must be reasonably drawn from the words actually used. Chapin, 993 F.2d 1087,

 1092-93 (4th Cir. 1993); see also Pendleton, 772 S.E.2d at 763 (defamation by implication

 actions may proceed only upon words actually stated); Hyland v. Raytheon Tech. Servs. Co., 277

 Va. 40, 48, 670 S.E.2d 746, 751 (Va. 2009) (stating that a plaintiff may bring an action for

 defamation for “any implications, inferences, or insinuations that reasonably could be interpreted

 to impute a false fact about him”).

        In addition to the above requirements, there are also “constitutional limits on the type of

 speech” that is subject to a defamation action. Milkovich, 497 U.S. at 16 (emphasis in original).

 If a statement “cannot reasonably be interpreted as stating actual facts about an individual,”

 it cannot be the subject of a defamation suit. Id. at 20 (internal quotation marks and citations

 omitted); see also WJLA-TV v. Levin, 264 Va. 140, 152, 564 S.E. 2d 383, 390 (Va. 2002); Yeagle

 v. Collegiate Times, 255 Va. 293, 297, 497 S.E. 2d 136, 138-39 (Va. 1998). There are also

 constitutional limits, anchored in the First Amendment, pertaining to defamation claims made by



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 a “public figure.” See New York Times Co. v. Sullivan, 376 U.S. 254, 280 (1964). In that regard,

 a public figure must allege that a challenged statement was made with actual malice—that is,

 with knowledge that the statement made was false or made with reckless disregard as to its

 falsity. Id. And importantly, at the pleading stage, “conclusory allegations” and “mere

 recitation[s]” of the actual malice standard—which is ultimately a subjective inquiry—are

 insufficient. Mayfield v. Nat’l Ass’n for Stock Car Auto Racing, Inc., 674 F.3d 369, 378 (4th Cir.

 2012). Instead, a plaintiff must plead facts that, if proven, create a “plausible inference” of

 actual malice. Spirito v. Peninsula Airport Comm’n, 350 F. Supp.3d 471, 481 (E.D. Va. 2018).

 To do so, a plaintiff may refer to certain aspects surrounding a challenged statement deemed

 probative of malice, such as a defendant’s failure to adequately investigate or observe

 journalistic standards; a narrative and story line unmoored in the facts; or other circumstantial

 evidence that, taken together, evidences that the defendant acted with knowledge of the

 statement’s falsity or that it “entertained serious doubts as to the truth of [its] publication.” St.

 Amant v. Thompson, 390 U.S. 727, 730 (1968). Fairfax does not dispute that he is a public

 figure, see Am. Compl. ¶ 211.

         Applying the above principles of law to Fairfax’s defamation claims against CBS, the

 issue is whether the Amended Complaint alleges facts that make plausible that a reasonable

 listener would understand CBS to be presenting the substance of Tyson’s and Watson’s

 statements as actual facts that were either defamatory per se or defamatory by implication, and if

 so, whether CBS made the defamatory statement either with knowledge that the defamatory

 meaning was false or with a reckless disregard as to whether it was true or false.




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                     i. Defamatory Meaning

        The content of Tyson’s and Watson’s on air statements, as related by them directly, is

 clearly defamatory per se, as it not only describes serious criminal conduct but also conduct that

 “tends so to harm the reputation of another as to lower him in the estimation of the community or

 to deter third persons from associating or dealing with him.” Restatement (Second) of Torts §

 559. Whether the broadcasts constitute actionable defamation against CBS, however, depends

 on whether a reasonable viewer would understand that CBS was presenting or implying either

 accusers’ statements as factually true. For this reason, CBS contends that the challenged

 broadcasts are not actionable because, as a matter of law, it merely presented “competing

 allegations of Tyson and Watson on the one hand, and of Fairfax’s version of those same events

 on the other,” and thus cannot convey any defamatory meaning on the part of CBS. [Doc. 17 at

 20].

        Central to Fairfax’s position are the comments of the CBS This Morning co-hosts before

 and after the broadcasted interviews of Tyson and Watson, in which they react to aspects of what

 both women said. Specifically, before Tyson’s interview, King noted that the details of Tyson’s

 claims are “very disturbing;” and following Tyson’s interview, King remarked that “it was

 fascinating talking to her [Tyson] because I felt, at some point, it’s almost like she’s going back

 to the moment that she believed,” to which fellow co-host Bianna Golodryga added: “You could

 see that . . . Something clearly changed when she was talking through what transpired, and you

 could see where she got very emotional and went to that dark place.” [Doc. 17, Ex. 4 at 7-8].

 Seconds later, fellow co-host Norah O’Donnell remarked that it “Feels like she was forced.” Id.

 Similarly, following Watson’s interview, O’Donnell, referring to Watson’s interview, remarked:

 “There’s an incredible amount of pain there . . . All these years later, that pain has stuck with



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 them about how they felt in that moment, and how it has affected them for decades.” Id., Ex. 11

 at 3-4. Fairfax contends that through these and other statements, CBS This Morning co-hosts

 created at least the defamatory implication that he in fact committed the two sexual assaults, as

 related by his accusers, largely because these statements essentially vouched for both Watson’s

 and Tyson’s credibility and, with respect to Tyson, CBS failed to probe inconsistencies in

 Tyson’s interview. [Doc. 35 (“Opp.”) at 3-7].

          Although, when taken in isolation, these relied upon comments could arguably cause a

 reasonable viewer to infer that the CBS co-hosts believed to some extent certain aspects of these

 accusers’ stories, neither the April 1, 2019 nor April 2, 2019 broadcasts contains, as to CBS,

 actionable defamation as a matter of law when the relied upon statements are considered within

 the context of the broadcasts in their entirety. See Va. Citizens Def. League v. Couric, 910 F.3d

 780, 786 (4th Cir. 2018) (applying Virginia law) (finding challenged film not to have a

 defamatory meaning once the Court reviewed the film, not a particular twelve-second clip, in its

 entirety). Most basically, none of the CBS This Morning co-hosts state that Fairfax did in fact

 commit the alleged sexual assaults or that they believed he committed the assaults. In fact, at the

 conclusion of each interview, King, in studio and surrounded by her co-hosts, promptly

 announces Fairfax’s assertions of innocence, including that he passed a polygraph exam as to

 both of his accusers’ allegations.4 Further, CBS, contrary to Fairfax’s contentions, probed


 4
   See [Doc. 17, Ex. 4 at 7 (King: “Now Lieutenant Governor Fairfax responded to the accusations. In a statement to
 CBS News he says this: ‘I feel so strongly regarding my innocence that I submitted myself to a polygraph test for
 each of the accusations against me . . . I passed these tests because as I’ve maintained from the very beginning I did
 not assault either of my accusers.’”)]; id., Ex. 11 at 6 (King: “In response to Watson’s allegations a spokesperson
 says Fairfax took a polygraph test and it supports his denials. That’s according to information released by his team
 characterizing, rather, the results. His spokesperson says the tests show that Fairfax was truthful when he answered
 that he never had a conversation with Meredith Watson where she implied his sexual contact with her was
 nonconsensual. This spokesperson also says that Fairfax denies ever holding her down or preventing her from
 getting up during the alleged incident.”); id., Ex. 13 at 3 (King: “Now, Lieutenant Governor Fairfax categorically
 denies Vanessa Tyson and Meredith Watson’s allegations against him. In a statement to CBS News he says this: ‘I

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 inconsistencies and shortcomings in both women’s statements. For example, King pressed both

 women about their background, their stories, and motivations in coming forward for the first

 time just as Fairfax was on the cusp of rising to the Virginia’s highest elected office.5 King

 questioned Tyson about how her story compared to Fairfax’s own recollection and confronts

 Tyson with Fairfax’s differing recollections of the events she alleges. See [Doc. 17, Ex. 4 at 5-6

 (King questioning Tyson regarding her claim that she did not contact Fairfax after their 2004

 encounter)]. And while interviewing Watson, King asks about other incidents involving

 relationships that might bear on her credibility. See [Doc. 17, Ex. 14] (where King asks: “[T]here

 have been published reports about an ex-boyfriend who took out a peace order, which is a form

 of a restraining order in the state of Maryland. He claims you damaged his car, that you

 threatened to commit suicide, that you held him hostage. . . How do you respond to those

 allegations?”).

          Moreover, the relied upon commentary, when read in context, does not ascribe to any

 particular view of the underlying events, but rather on how persons who believe they are victims

 of sexual abuse are affected.6 Similarly, King calling Watson’s allegations “disturbing” is a

 description of the allegations’ content, not her veracity or the factual accuracy of the allegations




 am able to hear the pain they have expressed, a pain I hope they are able to resolve and heal from. However,
 because I never assaulted either Dr. Tyson or Ms. Watson I know that my actions cannot be the source of that pain.’
 Both Watson and Tyson are calling for a public hearing into the allegations.”).
 5
   See id., Ex. 6 at 2 (King asking Tyson to respond to Fairfax’s statement that these allegations are intended to smear
 him); id., Ex. 11 at 4 (King (to Watson): “I think people looking at you would say well, how could it happen to her
 twice in the same place at the same school. What do you say to that?”); id., Ex. 13 at 2 (King (to Watson): “You
 know, the thing you keep hearing from most men certainly after the Me Too movement is that a woman can make a
 charge and a man has no defense, and when we get into your word against his, why are you more credible than he
 is?”).
 6
   See, e.g., id., Ex. 6 at 3-4 (CBS This Morning co-host Dickerson: “You know, and think about the learning we have
 done. There was a period half a year ago where people said, you know, these people are coming forward – after so
 many years -- Why are they coming forward, how can it really be so real, and we have now seen example after
 example of how it is as real as if it happened yesterday.”) (emphasis added).

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 themselves, and essentially served as a forewarning to viewers of the nature of Watson’s

 allegations. [Doc. 17, Ex. 11 at 2]. Overall, CBS’ statements and presentations, when viewed in

 context and in conjunction with other statements pertaining to Fairfax’s denials and other

 possible versions of what happened,7 are not defamatory per se and do not sufficiently imply that

 the accusations as true or accurate or that CBS endorsed the veracity of Fairfax’s accusers. See

 Webb v. Virginian-Pilot Media Co., LLC, 287 Va. 84, 90, 752 S.E.2d 808, 812 (Va. 2014)

 (noting, in part, that because a newspaper article disclaimed any preferential treatment, a

 defamatory inference could not be reasonably drawn, even though witnesses, at trial, testified

 that they drew a defamatory inference or implication). 8

                       ii. Actual Malice

          Fairfax’s defamation claim also fails because he has not sufficiently alleged facts that

 make plausible that CBS broadcasted the interviews with the requisite degree of fault, viz., actual

 malice, based on either actual knowledge or a reckless disregard for the truth.

          Fairfax contends that, when taken together,9 the following makes plausible his claim of

 actual malice: (1) CBS failed to investigate Tyson’s and Watson’s allegations; (2) CBS relied on


 7
   See id., Ex. 4 at 7 (King: “[K]issing doesn’t necessarily have to lead to what she says happened after that.”
 (emphasis added)); id. Ex. 13 at 1 (King: “We have more now of our interview with Meredith Watson telling the
 story she revealed after Vanessa Tyson publicly alleged that Virginia Lt. Gov. Justin Fairfax sexually assaulted her.
 Watson claims that Fairfax raped her in 2000 when they were both students at Duke University . . . Justin Fairfax
 denies their allegations, adamantly so.”) (emphasis added)).
 8
   In support his position, Fairfax cites Phi Kappa Psi v. Rolling Stone et al., 94 Va. Cir. 214, 216 (Va. Cir. Ct. Aug.
 31, 2016). In that case, a Virginia circuit court refused to dismiss on demurrer a defamation suit brought by a
 fraternity against Rolling Stone Magazine based on an article recounting in detail a violent rape on the grounds that
 the article did not solicit the fraternity’s response and made repeated references to a vicious “gang rape” that, when
 taken together, were capable and susceptible to a defamatory meaning or implication. Unlike Phi Kappa Psi, CBS
 solicited Fairfax to appear and respond, repeatedly referenced Fairfax’s denials throughout the challenged
 broadcasts, and asked questions of both women that challenged their accusations.
 9
   Federal cases applying Virginia law recognize the cumulation theory to prove actual malice. See Reuber v. Food
 Chemical News, Inc., 925 F.2d 703, 712 (4th Cir. 1991) (en banc), cert. denied, 501 U.S. 1212 (1991) (applying
 Virginia law) (noting that departure from journalistic standards is not, standing alone, a determinant of actual
 malice, but such action might serve as supportive evidence when combined with other evidence); Gilmore v. Jones,

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 a single, unreliable source for each interview (namely, Tyson and Watson); (3) CBS violated

 applicable journalistic standards; (4) CBS was motivated by its desire to respond publicly and

 aggressively to the #MeToo movement in light of certain internal controversies at CBS; (5) CBS

 had a preconceived narrative that Fairfax committed the alleged sexual assaults; (6) CBS failed

 to challenge Tyson or Watson on basic facts of their stories during the interview itself; and (7)

 CBS engaged in certain post-publication conduct probative of actual malice. Opp. at 16-24.

          “[F]ailure to investigate will not alone support a finding of actual malice.” Harte-Hanks

 Communications v. Connaughton, 491 U.S. 657, 688 (1989). However, there is a duty to

 investigate where there is reason to doubt the veracity of a source or the publisher “has a high

 degree of subjective awareness of their probable falsity, Jackson v. Harting, 274 Va. 219, 229-

 30, 645 S.E.2d 303, 309 (Va. 2007); and the failure to do so can be probative of actual malice.

 Biro v. Conde Nast, 807 F.3d 541, 546 (2d Cir. 2015) (“We recognize that although failure to

 investigate does not in itself establish bad faith, reliance on anonymous or unreliable sources

 without further investigation may support an inference of actual malice.”).

          In support of its claim that CBS had a duty to investigate more than it did, Fairfax

 essentially claims CBS had either reasons to doubt his accusers’ veracity or, at least, deliberately

 shielded itself from the truth.10 But Fairfax has failed to allege facts that make plausible either of


 370 F. Supp. 3d 630, 673 (W.D. Va. 2019) (“Although neither the pursuit of a preconceived narrative nor a failure to
 observe journalistic standards is alone ultimately enough to establish actual malice, Gilmore’s factual allegations,
 taken together, are sufficiently plausible to support an inference that Creighton published statements about him with
 actual malice.”); Eramo v. Rolling Stone, LLC, 209 F. Supp. 3d 862, 872 (W.D. Va. 2016) (“Although failure to
 adequately investigate, a departure from journalistic standards, or ill will or intent to injure will not singularly
 provide evidence of actual malice, the court believes that proof of all three is sufficient to create a genuine issue of
 material fact.”). See also Tavoulareas v. Piro, 817 F.2d 762, 790 (D.C. Cir. 1987), cert. denied, 484 U.S. 870
 (1987) (“[A] plaintiff may prove the defendant’s subjective state of mind through the cumulation of circumstantial
 evidence.”).
 10
    In support of this contention, Fairfax points to (1) CBS’ knowledge of certain witnesses, as identified by a
 Fairfax’s spokesperson prior to publication, including a CBS in-house lawyer with relevant knowledge and an
 eyewitness to the 2000 incident with Watson; (2) CBS’ awareness that The Washington Post refused to run the story

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 these contentions. Both women came forward and disclosed sexual encounters that Fairfax

 admits occurred, albeit consensually. See CACI, 536 F.3d at 295-96 (finding two independent

 reports provided defendant reasonable grounds to make claims about the subject of the reports

 without raising inference of actual malice). Other news organizations had aired and reported both

 woman’s stories months before the April 2019 broadcasts and CBS attempted to contact those

 individuals Fairfax had identified as persons with relevant information; and when unsuccessful,

 requested Fairfax, and his personal team, to encourage those individuals to speak with them,

 including an individual that Fairfax latter explicitly identified as the eyewitness to his encounter

 with Watson. See Am. Compl. ¶¶ 11, 25-29, 107; Opp. at 16 (stating that “[o]ne of the witnesses

 [in the list of four names provided to CBS in February 2019] was the eyewitness); see also

 Hugger v. Rutherford Inst., 94 Fed. Appx. 162, 167 (4th Cir. 2004) (per curiam) (“TRI’s actions

 are not those of one acting with reckless disregard for the truth. Although a reasonable person

 may have waited to hear from one of the corroborating witnesses before issuing the press

 release,” that does not arise to actual malice involving a matter of public concern).

         Similarly, Fairfax does not plausibly allege that CBS, in publishing “sensational and

 highly damaging accusations made by Tyson and Watson” against him, violated “basic

 journalistic standards.” Am. Compl. ¶ 135. As reflected in the Amended Complaint itself, CBS

 personnel appeared to be in constant contact with Fairfax’s spokesperson and in fact, “were

 highly responsive to her outreach” and provided Fairfax an opportunity to respond to the

 interviews, which he declined. Id. ¶ 189. See Reuber, 925 F.2d at 718 (finding actual malice

 interview with one side when publishing matters of public concern, while the other side declines



 because it could not corroborate Tyson’s story; (3) CBS’ failure to interview anyone other than Tyson, Watson and
 their respective representatives in order to corroborate their stories; (4) CBS’s failure to reach out to Fairfax
 sufficiently in advance of when the interviews first aired. Am. Compl. at 25-39.

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 to be interviewed, “would transform the New York Times standard for actual malice into one far

 less protective of the purposes of free expression.”). Nor can the Court find any obligation on

 the part of CBS, legal or otherwise, to disclose to Fairfax in advance of the broadcasts the fact or

 substance of the interviews, as Fairfax insists CBS should have. And as reflected in those

 portions of the broadcasted interviews, CBS asked questions of both women that raised issues as

 to their veracity and motivations. See supra 17.

        Fairfax’s contentions about CBS’ pre-determined animus, motive and intent—namely,

 CBS’ own desire to respond to internal #MeToo allegations—also fails to adequately support his

 claim of actual malice. Fairfax makes only conclusory statements about a perceived need for

 CBS, amidst damaging reports of sexual misconduct by its employees, to publish the challenged

 interviews; and the Amended Complaint lacks any detail about how this background motivated,

 or was related to, the publication of the challenged broadcasts, which occurred two months after

 the initial allegations became public and once CBS was able to obtain the exclusive interviews of

 the two women at the center of the matter.

        As a general proposition, actual malice cannot be inferred from having a political or

 ideological animus towards a plaintiff, standing alone, see Tavoulareas, 817 F.2d at 795;

 Jankovic v. Int’l Crisis Grp., 822 F.3d 576, 597 (D.C. Cir. 2016) (holding that the assertion a

 writer had “concocted a pre-conceived storyline . . . fails to establish actual malice”);

 Westmoreland v. CBS, Inc., 596 F. Supp. 1170, 1174 (S.D.N.Y. 1984) (an adversarial stance is

 certainly not indicative of actual malice under the circumstances where the reporter conducted a

 detailed investigation), and in any event, even assuming some pre-existing ill will or animus on

 the part of CBS, Fairfax fails to allege facts that, when combined with any such presumed

 animus, would allow a plausible inference of malice.



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          Nor is CBS’ alleged post-publication conduct sufficient to make plausible the required

 showing of actual malice at the time of publication.11 See Horne v. WTVR, LLC, 893 F.3d 201,

 211 (4th Cir. 2018) (applying Virginia law) (“Under the actual malice standard, a plaintiff must

 prove that the defendant had a particular, subjective state of mind at the time the statements were

 made.”) (citations omitted); see also Secord v. Cockburn, 747 F. Supp. 779, 792-793 (D. D.C.

 1990) (“post-publication events have no impact whatever on actual malice as it bears on this

 lawsuit since the existence or non-existence of such malice must be determined as of the date of

 publication.”) (citing Sullivan, 376 U.S. at 286 (malice must be shown “at the time of

 publication”)). While post-publication conduct can conceivably in some circumstances be

 probative of actual malice at the time of publication, the Amended Complaint fails to allege any

 such post-publication conduct by CBS.12

          For the above reasons, Fairfax has failed to allege facts sufficient to make plausible that

 CBS acted with actual malice.

 11
    In determining the “time of publication, the Court is mindful of the “single publication rule,” under which the
 mass distribution of defamatory communications, such as internet posts, are not deemed to be republished each time
 the communication is re-posted or repeated. Although the Supreme Court of Virginia has not formally addressed the
 issue, the Fourth Circuit has repeatedly held that Virginia would follow “[t]he great majority of states” that now
 follow the “single publication rule,” Morrissey v. William Morrow Co., 739 F.2d 962, 967 (4th Cir.1984); see also
 Semida v. Rice, 863 F.2d 1156, 1161 (4th Cir. 1988); Eramo, 209 F. Supp. 3d at 879; Doe v. Roe, 295 F. Supp. 3d
 664, 671 (E.D. Va. 2018) (“a statement on a website is not republished unless the statement itself is substantively
 altered or added to, or the website is directed to a new audience”). For this reason, the only relevant date in assessing
 CBS’ actual malice would appear to be the dates of the initial broadcasts, April 1, 2019 and April 2, 2019.
 12
    Fairfax contends in this regard that CBS obtained information after the April 2019 broadcasts that would have
 exculpated Fairfax but CBS refused to follow up on such information. Specifically, Fairfax points to his own public
 announcement in July 2019 that there exists an exculpating eyewitness who was present during his encounter with
 Watson in 2000 and that CBS refused to revise its reporting in light of this “crucial information.” Opp. at 23; see
 also Am. Compl. ¶¶ 127, 189-191. Fairfax also alleges that he and the unnamed CBS in-house lawyer, who was
 included on this list of potential witnesses, had exchanged messages concerning that eyewitness before April 2019.
 See Am. Compl. ¶¶ 181, 186-190. Putting aside the probative value of post-publication information generally, CBS’
 failure to report on this eyewitness does not plausibly allege actual malice. Although, according to Fairfax, the
 eyewitness was included in the initial list provided to CBS correspondent Ed O’Keefe in February 2019, see Opp. at
 16, Fairfax never specifically identified to CBS before his announcement in July 2019 that one of the persons on that
 list was an eyewitness. As to his communications with the CBS in-house lawyer, Fairfax does not allege the actual
 contents of those communications and has not placed in the record those relied upon communications.

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              B. Intentional Infliction of Emotional Distress (IIED)

          Fairfax acknowledges that to the extent the defamation claim fails, so too must the IIED

 claim. Opp. at 28-29. The Court accordingly dismisses Count II.13

              C. Motion for Attorney’s Fees

          CBS also moves for an award of attorney’s fees and costs in this action pursuant to Va.

 Code Ann. § 8.01-223.2, otherwise known as Virginia’s anti-SLAPP statute.

          Va. Code Ann. § 8.01-223.2(A) provides immunity from civil liability for any claim of

 defamation based solely on statements “regarding matters of public concern that would be

 protected under the First Amendment to the United States Constitution made by that person that

 are communicated to a third party,” provided that such statements are not made with “actual or

 constructive knowledge that they are false or with reckless disregard for whether they are false.”

 That same section also provides that “[a]ny person who has a suit against him dismissed pursuant

 to the immunity provided by this section may be awarded reasonable attorney fees and costs.”

 Va. Code Ann. § 8.01-223.2(B) (emphasis added).

          As discussed supra, the statements at issue concern “matters of public concern that would

 be protected under the First Amendment to the United States Constitution”14 and Fairfax has


 13
    For a plaintiff to recover for intentional infliction of emotional distress in the absence of any accompanying
 physical injury, he must allege that (1) the defendant’s conduct was intentional and reckless; (2) the conduct was
 outrageous and intolerable such that it “offends against generally accepted standards of decency and morality;” (3)
 the conduct caused the plaintiff’s emotional distress; and (4) the plaintiff’s emotional distress was severe. Russo v.
 White, 241 Va. 23, 25, 400 S.E. 2d 160, 162 (Va. 1991). Although it is not necessary for the Court to decide the
 sufficiency of Count II, separate and apart from Count I, it appears doubtful that the Amended Complaint alleges
 facts that make plausible some or all of the elements of an IIED claim. See, e.g., Harris v. Kreutzer, 271 Va. 188,
 205, 624 S.E.2d 24, 34 (Va. 2006) (finding symptoms including “nightmares, difficulty sleeping, extreme loss of
 self-esteem and depression,” “psychological treatment and counseling,” “mortification, humiliation, shame,
 disgrace, and injury to reputation” as insufficient to state a claim for IIED under Virginia law).
 14
    Va. Code Ann. § 8.01-223.2 does not define what qualifies as a “public concern.” Other States, applying their
 own anti-SLAPP statutes, have essentially regarded any issue pertaining to a public official to be a matter of public
 concern. See, e.g., Healthsmart Pacific, Inc. v. Kabateck, 7 Cal. App. 5th 416, 430 (Cal. Dist. Ct. App. 2d Dec. 19,
 2016) (“Bribery of a senator and its connection with health care legislation is undeniably a matter of public

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 failed to adequately allege that CBS published the challenged publications with actual malice.

 CBS has therefore sufficiently established the statutory immunity under § 8.01-223.2(A) that

 places it within the class of litigants that may recover attorney’s fee and costs under § 8.01-

 223.2(B). At issue, however, is whether this Court should award fees under § 8.01-223.2(B).

 CBS, though noting the absence of a controlling interpretation from either the Supreme Court of

 Virginia or the Fourth Circuit, contends that the statute presumptively requires this Court to

 award CBS its attorney’s fees and costs, [Doc. 20 at 4-5], and Fairfax has not sufficiently shown

 why fees should not be awarded, [Doc. 38 at 3].

          In support of its position, CBS cites the District of Columbia’s anti-SLAPP statute,15

 which the D.C. Court of Appeals has interpreted as presumptive, notwithstanding that statute’s

 use of the word “may.” See Doe v. Burke, 133 A.3d 569, 575 (D.C. 2016). At issue in Burke

 was whether a trial court, who had granted a defendant’s special motion to quash a defamation

 lawsuit pertaining to issues of public interest, erred when it held that an award of reasonable

 attorney’s fees was discretionary under D.C.’s anti-SLAPP statute. There, the D.C. Court of

 Appeals, reversing the trial court, held that, with respect to an award of attorney’s fees, the D.C.

 statute implicitly “rejects any additional showing of frivolousness or wrongful motivation . . .

 before a party who files a special motion to quash and prevails” because the same statute also

 expressly indicates when a showing of frivolousness or improper motive is required—i.e., when

 “the court finds that a motion brought under § 16-5502 or § 16-5503 is frivolous or is solely

 intended to cause unnecessary delay.” Burke, 133 A.3d at 575 (“Unlike the ‘moving party who


 concern.”); Deaver v. Desai, 483 S.W.3d 668, 672 (Tex. Ct. App., 14th Dist. Dec. 3, 2015) (applying Texas anti-
 SLAPP statute which expressly defines “matter of public concern” to include an issue related to “(D) a public
 official or public figure”). Here, Fairfax does not contend that the challenged broadcasts are not related to a matter
 of public concern.
 15
    In relevant part, that D.C. statute reads: the “court may award a moving party who prevails, in whole or in part . . .
 the costs of litigation, including reasonable attorney fees.” D.C. Code § 16-5504(a) (emphasis added).

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 prevails . . . on a motion,’ ‘the responding party’— the original plaintiff—may be awarded fees

 only if the court finds a complete lack of merit or improper motivation in the special motion to

 quash. This distinction between what the Council required in one of two companion provisions

 but not the other must be assumed to be deliberate . . .”) (citing D.C. Code § 16-5504(b)).

          Unlike the D.C. anti-SLAPP statute, § 8.01-223.2(B) does not limit an award of fees to

 those instances where a defendant has prevailed on a preliminary motion to dismiss or quash.

 Indeed, § 8.01-223.2(B) is applicable to all instances where a party is entitled to statutory

 immunity and makes no distinction regarding when the case is resolved—whether at the motion

 to dismiss, summary judgment, or trial stage—and it does not allow under any circumstances an

 award of attorney’s fees to a plaintiff who successfully opposes a motion to dismiss. For these

 reasons, the Court finds the D.C. anti-SLAPP statute to be materially different from Virginia’s

 and those cases interpreting that statute provide little guidance in interpreting § 8.01-223.2(B).

          The Supreme Court of Virginia, as other courts, has made it clear that, when interpreting

 a statute, courts should “ascertain and give effect to the intention of the legislature,” and that

 intent is usually self-evident from the words used in the statute. Chase v. DaimlerChrysler

 Corp., 266 Va. 544, 547, 587 S.E. 2d 521, 522 (2003). Consequently, Virginia courts apply

 the plain language of a statute unless the terms are ambiguous, Tiller v. Commonwealth, 193 Va.

 418, 420, 69 S.E. 2d 441, 442 (1952), or applying the plain language would lead to an absurd

 result, Cummings v. Fulghum, 261 Va. 73, 77, 540 S.E. 2d 494, 496 (2001). Here, § 8.01-

 223.2(B) clearly states that “any person who has a suit against him dismissed pursuant to the

 immunity provided in this section may be awarded reasonable attorney fees and costs.”16 The


 16
   The Virginia legislature also enacted § 8.01-223.2(B) against the backdrop of other States’ anti-SLAPP statutes,
 some of which used “shall” and others, “may.” Compare, e.g., Cal. Civ. Proc. Code § 425.16(c); Fla. Stat. Ann. §
 768.295(4); and 735 Ill. Comp. Stat. Ann. § 110/25, which prescribes that a court “shall” make fee awards, with,
 Del. Code Ann. Tit. 10, § 8138(a); NY CLS Civ. R. § 70-a, as well as their judicial interpretations that emphasized

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 Virginia legislature has also demonstrated that it knows how to make an attorney’s fee award

 mandatory to prevailing parties through the use of the word “shall.” See, e.g., Va. Code Ann. §§

 2.2-4030(A) (pertaining to civil actions regarding state administrative decisions); 9.1-704(B)

 (pertaining to actions to recover unpaid overtime compensation by state fire protection and law

 enforcement personnel).17 The Court therefore gives the permissive “may” its plain meaning and

 effect and concludes that § 8.01-223.2(B) is permissive, not mandatory or presumptive, and

 thereby authorizes the Court to award fees in its discretion.

          Other than its use of the word “may,” Section 8.01-223.2(B) provides no additional

 guidance concerning the circumstances under which the Court should exercise that discretion;

 and in assessing whether to award fees under § 8.01-223.2(B), the Court has considered how

 courts have exercised their discretion in favor of prevailing defendants under other discretionary

 fee-shifting statutes. For example, within the context of Title VII’s authorization to award fees to

 a prevailing defendant, courts consider whether the action is frivolous, unreasonable, or without

 foundation. See E.E.O.C. v. Propak Logistics, Inc., 746 F.3d 145, 151 (4th Cir. 2014) ( an award

 of fees to a prevailing defendant in a Title VII case is a “conservative tool, to be used sparingly”

 in cases in which the plaintiff initiated or continued to litigate a claim that the plaintiff “knew or




 the significance of that choice of words in determining whether a statute was mandatory, presumptive, or
 permissive. See, e.g., Nichols v. Lewis, 2008 WL 2253192, 2008 Del. Ch. LEXIS 66, at *31-34, (Del. Ch. Ct. 2008);
 Matter of West Branch Conservation Ass’n. v. Planning Bd. of Town of Clarkstown, 222 A.D.2d 513, 514, 636
 N.Y.S.2d 61 (N.Y. App. Div. 2d Dep’t 1995) (determining that use of the word “may” in the “may be recovered”
 language in New York’s anti-SLAPP statute “makes the decision to award attorney’s fees and costs discretionary
 rather than mandatory”).
 17
    Cf. Va. Code Ann. § 8.01-223.2(A) (“A person shall be immune from civil liability . . .”) (emphasis added). See
 also Ross v. Craw, 231 Va. 206, 214, 343 S.E.2d 312, 317 (Va. 1986) (noting the use of “may” in state statutes to
 denote a permissive meaning and the use of “shall” to denote an obligation or duty); 2A Norman Singer & Shambie
 Singer, Sutherland Statutes and Statutory Construction § 46.6 (7th ed. 2015) (“When the legislature uses a term or
 phrase in one . . . provision but excludes it from another, courts do not imply an intent to include the missing term in
 [the] . . . provision where the term or phrase is excluded. Instead, omission of the same provision from a similar
 section is significant to show different legislative intent for the two sections.”).

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 should have known was groundless, frivolous, or unreasonable.”) (citations and internal

 quotation marks omitted); Brat v. Personhuballah, 883 F.3d 475, 481 (4th Cir. 2018) (discussing

 standard for award of attorney’s fees to a prevailing party under Title VII and 42 U.S.C. § 1988)

 (citations omitted). And under other permissive fee-shifting anti-SLAPP statutes, courts have

 considered whether there is a substantial basis in fact and in law for the non-prevailing party to

 pursue the action. See Egiazaryan v. Zalmayev, 2014 U.S. Dist. LEXIS 36285, at *17 (S.D.N.Y.

 Mar. 19, 2014) (discussing the permissive fee-shifting provision in New York’s anti-SLAPP

 law); Nichols, 2008 Del. Ch. LEXIS 66, at * 27 (discussing the permissive fee-shifting provision

 in Delaware’s anti-SLAPP law).

         Though legally insufficient to state a claim, Fairfax’s allegations are not so “groundless,

 frivolous, or unreasonable” or so lacking in a substantial basis in fact and law as to warrant an

 award of fees.18 The content of the two women’s broadcasted statements is clearly defamatory

 per se, and the accusations relate to 19 and 15 year-old events that, as far as CBS knew at the

 time, were uncorroborated and only recently leveled against Fairfax under circumstances that

 raised issues as to their timing. And despite Fairfax’s detailed denials, which CBS reported on

 air, CBS’ commentary could be viewed by a reasonable listener as placing his accusers’

 statements in a sympathetic light that gave them some degree of legitimacy. There is also




 18
    See Friends of Rockland Shelter Animals, Inc. v. Mullen, 313 F. Supp. 2d 339, 344-45 (S.D.N.Y. 2004) (“[E]ven
 if [Plaintiff’s] action is a SLAPP suit within the meaning of the statute, defendants are not entitled to
 damages. [Plaintiff’s] suit was commenced under a cognizable legal theory and it presented facts that tended to
 show some of [defendant’s] statements were misleading. [T]he arguments presented by the defendants in their
 twenty-five page Memorandum of Law convinced the court that their activities were protected . . . . Although we
 found [Plaintiff’s] argument unpersuasive, it is not frivolous.”); Clemente v. Impastato, 290 A.D.2d 864, 865 (N.Y.
 App. Div. 3d Dep’t 2002) (declining to award attorney’s fees under New York’s anti-SLAPP statute’s fee shifting
 provision after finding “that plaintiff's defamation action, although now dismissed, was commenced with a
 substantial basis in fact and law.”).

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 nothing in the record that would suggest that Fairfax knew the accusations of wrongdoing were

 true or could be shown to be true.

          Fairfax also presented, as discussed supra, a cogent legal theory as to CBS—defamation

 by implication, which, under the circumstances of this case, often turn on the resolution of

 complicated factual disputes whose outcome is often difficult to predict, particularly given the

 complexities of the law in this area. See Gertz v. Robert Welch, Inc., 418 U.S. 323, 343-46

 (1974) (characterizing defamation law post-Sullivan as the product of “competing values” at

 stake in defamation suits—namely, a State’s interest in compensating injury to the reputation of

 individuals and the interest of the press and media).19

          The Court also cannot conclude that Fairfax acted out of an improper motive. Since

 February 2019, when the initial allegations against Fairfax first surfaced, Fairfax has

 continuously denied the allegations made against him by both women and identified to CBS

 witnesses and other information he claimed supported his position that the accusations were

 baseless, and themselves, politically motivated. While his status as a public figure no doubt

 figured into his reasons for initiating this action, the record is insufficient to conclude that

 Fairfax was not substantially motivated by objectives typically associated with plaintiffs in

 defamation actions, namely, a public vindication and restoration of his reputation. There is also

 no doubt that Fairfax credibly alleged that he had been seriously harmed both professionally and

 personally by the broadcasts.

          Court have also sometimes looked to whether an award of attorney’s fees is necessary to

 address an imbalance in resources or to protect a defendant from a plaintiff with an unfair



 19
   These legal complexities are underscored by on-going judicial assessments pertaining to defamations claims by
 public figures. See, e.g., McKee v. Cosby, 586 U.S. ____, No. 17-1542 (2019) (Thomas, J., concurring in the denial
 of certiorari) (questioning, as a matter of constitutional law, the “actual malice” standard to state defamation law).

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 financial advantage, see, e.g., Sy v. United Parcel Serv. Gen. Servs. Co., 1999 U.S. Dist. LEXIS

 9862, at *4 (D. Or. 1999) (“A factor considered by the court in deciding whether to deny costs

 [sought pursuant to 28 U.S.C. § 1920] is the relative resources of the parties.”) (citing Braxton v.

 United Parcel Serv., 148 F.R.D. 527, 528-29 (E.D. Pa. 1993)), or whether an award of fees

 would unfairly discourage other plaintiffs from bringing colorable claims, see, e.g., Tancredi v.

 Metro. Life Ins. Co., No. 00 Civ. 5780, 2003 WL 2299203, 2003 U.S. Dist. LEXIS 17743, at

 *18-20 (S.D.N.Y. Oct. 7, 2003) (noting, while assessing the amount of attorney’s fees to award a

 prevailing defendant under 42 U.S.C. § 1988, that “the amount of the award must be sufficient to

 serve this purpose without being so harsh as to deter a potential plaintiff from bringing a close

 but not frivolous case.”). As amply demonstrated in this case, CBS is well positioned to defend

 itself and is not a financially-vulnerable victim, outmatched by the resources of the Plaintiff; and

 an award of fees under the circumstances of this case would have too high a potential to deter

 future litigants with colorable claims.

        In light of all of these considerations, the Court concludes that an award of attorney’s fees

 and costs to CBS is unwarranted; and the Motion for Fees is denied.

                                      IV. CONCLUSION

        For the foregoing reasons, it is hereby

        ORDERED that Defendants CBS Corporation and CBS Broadcasting Inc. Motion to

 Dismiss [Doc. 16] be, and the same hereby, is GRANTED; and it is further

        ORDERED that Defendants CBS Corporation and CBS Broadcasting Inc. Motion for

 Attorney’s Fees and Costs [Doc. 19] be, and the same hereby, is DENIED; and it is further




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